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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LIEUTENANT SHARON ROBINSON,                          )
DIRECTOR WINONA HANNAH,                              )
SERGEANT MARCELLA SAWYER,                            )
TELECOMMUNICATIONS CARLA                             )
KIMBER, SERGEANT VERONICA                            )
HARRIS and OFFICER LAWANDA                           )
BURRAS,                                              )      Case No. 19-cv-00395
                                                     )
                      Plaintiffs,                    )      Honorable Martha Pacold
                                                     )      Honorable Magistrate Judge Harjani
                                                     )
       v.                                            )
                                                     )
CHICAGO STATE UNIVERSITY,                            )
CAPTAIN JAMES MADDOX, individually                   )
and in his official capacity, and LIETUENANT         )
CHARLES STEWARD, individually and in                 )
his official capacity,                               )
                                                     )
                      Defendants.                    )

               DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
                  TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendants Chicago State University, Captain James Maddox, and Lieutenant Charles

Steward (collectively “Defendants”), by and through counsel, state the following in answer to

Plaintiffs’ First Amended Complaint.

                                    I.     INTRODUCTION

        1.      This is an action for gender discrimination pursuant to 42 U.S.C. § 2000e et seq.
(Title VII of the Civil Rights Act of 1964), as amended by the Civil Rights Act of 1981.

       ANSWER: Defendants admit that Plaintiffs allege they bring an action against

Defendants for alleged gender discrimination under Title VII of the Civil Rights Act of 1964.

Defendants deny all remaining allegations set forth in Paragraph 1 and specifically deny that

Plaintiffs have any valid cause of action against Defendants.

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                                      II.          JURISDICTION

       2.     Jurisdiction of this matter arises under Title VII of the Civil Rights Act of 1964 at
42 U.S.C. 2000e.

       ANSWER: Paragraph 2 states legal conclusions to which no response is required. To the

extent a response is deemed required, Defendants admit that this Court has jurisdiction over

claims brought pursuant to Title VII of the Civil Rights Act of 1964. Defendants deny all

remaining allegations set forth in Paragraph 2 and specifically deny that Plaintiffs have any valid

cause of action against Defendants.

                                            III.     PARTIES

       3.     Plaintiffs were at all relevant times female African-American officers employed by
the Chicago State University and worked in Chicago, Illinois.

       ANSWER: Defendants admit that Plaintiffs were police officers employed by Chicago

State University, which is within the geographical boundaries of Chicago, Illinois. Defendants

are without knowledge or information sufficient to form a belief as to the truth of Plaintiffs’

remaining allegations in Paragraph 3 and therefore denies the same.

       4.      Defendant Chicago State University is a state university in Chicago, Illinois that
receives both state and federal funding.

       ANSWER: Defendants admit that Defendant Chicago State University (the “University”)

is a state university in Chicago, Illinois, that receives both state and federal funding.

       5.     Individual Defendants were at all relevant times employees of Chicago State
University and worked in Chicago, Illinois.

       ANSWER: Defendants admit that Defendants Captain James Maddox, and Lieutenant

Charles Steward (collectively, the “Individual Defendants”) were employees of the University

and worked in Chicago, Illinois. Defendants state that the Individual Defendants are no longer

employed by the University. Defendants deny all remaining allegations set forth in Paragraph 5.



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                              IV.    FACTUAL ALLEGATIONS

        6.      Plaintiff Robinson has received outstanding or excellent performance evaluations
since she began her employment as a police officer at Chicago State University in 1993. In 2003,
she was promoted to the rank of Sergeant. In 2008, she was promoted to the rank of Lieutenant
and became the first black female to ever make it to the rank of Lieutenant in the police department
and within the state. Robinson served as the Clery Compliance Officer, Clery Training Officer, for
the entire campus and was the liaison to CPD (emergency management), Traffic Coordinator, Pace
Coordinator, and acted as the Chief of Police at various times from 2000-2007. Throughout her
career, she has received Command School Training and was being prepped to become the Deputy
Chief. She has further received many commendations and certificates.

       ANSWER: Defendants deny the allegations set forth in Paragraph 6.

       7.     Plaintiff Hannah has received outstanding performance evaluations since the time
she began her employment. Also, in 2017, she received a raise in her income and, in 2019, the
University expanded her department and responsibility.

       ANSWER: Defendants deny the allegations set forth in Paragraph 7.

        8.     Plaintiff Kimber has received outstanding or excellent performance evaluations
since she began her employment in 1997. In 2012, she was promoted to the position of dispatcher
with the Police Department. In 2013, she was promoted again to the LEADS Coordinator. She is
currently the LEADS Coordinator and the Training Operator for the Police Department.
Throughout her career, she has received many commendations and certificates.

       ANSWER: Defendants deny the allegations set forth in Paragraph 8.

        9.     Lawanda Burras has received outstanding or excellent performance evaluations
since she began her employment in 2001. In 2005, she joined the Police Department as a Security
Officer; in 2008, she was promoted to the position of Police Officer; and [i]n 2016, she received
her detective certification. She is currently the Juvenile Officer for the Police Department.
Throughout her career, she has received many commendations and certificates.

       ANSWER: Defendants deny the allegations set forth in Paragraph 9.

        10.     Marcella Sawyer has received outstanding or excellent performance evaluations
since she started her employment at Chicago State University as an Extra Help Police Clerk in
1996. She then advanced to the position of Security Officer and became a fully certified dispatcher.
In 2007, she was promoted to the position of Police Officer. In 2011, she became an investigator,
then later was promoted to one of the first Detectives. In 2014, she became a Sergeant and then
Sergeant Detective. Sawyer currently serves as the Union President. Throughout her career, she
has received commendations and certificates.

       ANSWER: Defendants deny the allegations set forth in Paragraph 10.



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        11.     Veronica Harris has received outstanding or excellent performance evaluations
since she started her employment at Chicago State University in 1992 as a Police officer. In 2000,
she was promoted to the rank of Corporal, then, in 2002, she advanced to the rank of Sergeant. In
addition to her role within the Police Department as a sergeant, Harris was the traffic coordinator,
training coordinator (FTO), Pace coordinator, and ran the entire Internship Program. Up until
retirement, in May 2019, she was the Union President. Throughout her career, she has received
many commendations and certificates.

       ANSWER: Defendants deny the allegations set forth in Paragraph 11.

       12.     From 2009 to the date of filing, Defendant Captain James Maddox was the
supervisor of all Plaintiffs. Since he became their supervisor, Plaintiffs have experienced ongoing
harassment from coworkers and supervisors based on their gender. The ongoing pattern of
discrimination and harassment have been regular and routine and often occurs several times a
week.

       ANSWER: Defendants deny the allegations set forth in Paragraph 12.

       13.     In 2009, all of the administrative work, such as timekeeping and scheduling, was
given only to the female officers. Defendants have never limited the male officers to only the
administrative work within the Department.

       ANSWER: Defendants deny the allegations set forth in Paragraph 13.

        14.    Plaintiffs are regularly referred to as being part of a “Girl’s Club” by the male staff,
particularly Defendant Maddox. Furthermore, Defendants disparage the male employees who get
along with the female officers as being part of the “Girl’s Club.”

       ANSWER: Defendants deny the allegations set forth in Paragraph 14.

        15.     After defendants started negatively referring to Plaintiffs’ as the “Girls Club,” they
stated they did not want any more females in leadership positions, nor did they want the department
to hire more women.

       ANSWER: Defendants deny the allegations set forth in Paragraph 15.

        16.   Additionally, Defendants Maddox and Steward started telling the male officers that
the women were doing too much and outperforming the men. They further told the male officers
that the women would soon be taking over positions of power.

       ANSWER: Defendants deny the allegations set forth in Paragraph 16.

       17.     On or about June 2011, the Department started hiring new personnel. The
Department hired several men and only one female. The Defendants quickly informed the newly
hired male officers that the women had created a “Girls Club.”



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       ANSWER: Defendants deny the allegations set forth in Paragraph 17.

       18.     The Defendants would reward the male officers for every good arrest. But if a
female did the same, she would get no commendation.

       ANSWER: Defendants deny the allegations set forth in Paragraph 18.

        19.    Defendants have continuously excused the male officers’ conduct, while the female
officers received reprimands for the slightest incident. For example, a male officer was charged
with Driving Under the Influence and received no discipline.

       ANSWER: Defendants deny the allegations set forth in Paragraph 19.

       20.    The Defendants have subjected the female officers to greater scrutiny of their job
performance than their male counterparts.

       ANSWER: Defendants deny the allegations set forth in Paragraph 20.

        21.    Since Defendant Maddox began supervising Plaintiffs, the female officers have
consistently been passed over for promotions.

       ANSWER: Defendants deny the allegations set forth in Paragraph 21.

        22.    Defendant Maddox has further allowed overtime for only the male officers but not
for the female officers.

       ANSWER: Defendants deny the allegations set forth in Paragraph 22.

       23.     Defendants have demoted and altered the timecards of the Plaintiffs without
knowledge or explanation. Whereas, male counterparts have received promotions or shift changes
upon requests, and have never had their timecards changed without their knowledge or input.

       ANSWER: Defendants deny the allegations set forth in Paragraph 23.

       24.     Defendant Steward has further degraded and insulted all the women in the
Department by calling them “whores” and “bitches.” Defendant Maddox has condoned said
behavior by allowing it to continue without incident.

       ANSWER: Defendants deny the allegations set forth in Paragraph 24.

       25.     The male officers were also forced by Defendants to write untrue statements against
the female personnel.

       ANSWER: Defendants deny the allegations set forth in Paragraph 25.




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        26.   Defendant Maddox and Steward used the fictitious “Girls Club” in order to create
a divide between the male and female officers.

       ANSWER: Defendants deny the allegations set forth in Paragraph 26.

        27.     In 2014, Defendants Maddox and Steward started antagonizing the whole
department to further the divide, including but not limited to verbal threats of demotion if the male
officers if they followed orders from their female superiors.

       ANSWER: Defendants deny the allegations set forth in Paragraph 27.

       28.   In 2003, Plaintiff Robinson was the first woman to be promoted to acting
Lieutenant and the first and only female African-American Lieutenant in the department.
Defendants Maddox and Steward would tell the other men in the department not to let any other
women become their bosses.

       ANSWER: Defendants deny the allegations set forth in Paragraph 28.

        29.    Additionally, Defendant Maddox allowed a male subordinate to take credit for
Plaintiff Robinson’s work (The Annual Security Report) while she was the Clery Compliance
Officer.

       ANSWER: Defendants deny the allegations set forth in Paragraph 29.

        30.     In 2010, Defendant Maddox threatened Sergeant Calvin Robbins with discipline if
he did not falsely accuse Plaintiff Robinson of calling a subordinate officer a “bitch” while on the
phone with a dispatcher.

       ANSWER: Defendants deny the allegations set forth in Paragraph 30.

        31.    Also, Defendant Maddox told Plaintiff Robinson that she had to provide a progress
report every day. No other officer has been expected to give a progress report.

       ANSWER: Defendants deny the allegations set forth in Paragraph 31.

      32.    In 2011, Plaintiff Robinson was inexplicably forced to change her schedule from
9am-5pm to 2pm-10pm while a male counterpart was able to stay on his shift. When Plaintiff
Robinson questioned the change, Defendants ignored her query.

       ANSWER: Defendants deny the allegations set forth in Paragraph 32.

         33.     Plaintiff Robinson remained on the 2pm to 10pm shift for eight years but was still
required to perform all the administrative duties, whereas Defendant Steward, when briefly put on
the late shift and is the same rank as Plaintiff [R]obinson, was not expected to do any administrative
work.



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       ANSWER: Defendants deny the allegations set forth in Paragraph 33.

        34.     In 2015, Defendant Maddox fought with the administration to remove Plaintiff
Robinson as a Lieutenant, falsely stating that he did not need that position. Defendant Maddox
informed the administration that he was okay with any decision to demote Plaintiff Robinson so
long as himself and Defendant Steward remained the status quo. As a result, Plaintiff Robinson
was demoted from Lieutenant to Sergeant with no reason given and lost approximately ten percent
of her salary, over $10,000.00.

       ANSWER: Defendants deny the allegations set forth in Paragraph 34.

        35.    On March 2017, Plaintiff Robinson was the highest-ranking Lieutenant in the
department. Regardless, Defendant Maddox encouraged the male officers to challenge Plaintiff
Robinson’s seniority. Specifically, on or about February 2017, Defendant Maddox deliberately
sent an erroneous seniority roster to the Union (Metropolitan Alliance of Police Chapter #297)
demanding the removal of Plaintiff Robinson and Plaintiff Harris from their rightful line of
seniority, which had been acknowledged for over 14 years.

       ANSWER: Defendants deny the allegations set forth in Paragraph 35.

       36.    On or around May 2017, Plaintiff Robinson and Sergeant Mack resolved issues
involving the scheduling of training troops via email. After addressing the problems together,
Defendant Maddox sent Plaintiff Robinson a scathing and unnecessary email degrading her for
questioning the male sergeant and accusing Plaintiff Robinson of creating a hostile work
environment.

       ANSWER: Defendants deny the allegations set forth in Paragraph 36.

      37.    In 2013, Defendant Maddox continuously told the male officers that Plaintiff
Robinson was the leader of the “Girls Club.”

       ANSWER: Defendants deny the allegations set forth in Paragraph 37.

        38.    Starting around March 2014, Defendants tried to pit Plaintiff Robinson and Plaintiff
Hannah against one another because Plaintiff Robinson was Plaintiff Hannah’s immediate
supervisor. For example, Defendant Steward would tell Plaintiff Hannah not to trust Plaintiff
Robinson and that Plaintiff Robinson was out of control. At one point, the Defendants even told
Plaintiff Hannah that Plaintiff Robinson had called Plaintiff Hannah a “bitch.” Defendant Maddox
encouraged and condoned this behavior.

       ANSWER: Defendants deny the allegations set forth in Paragraph 38.

        39.     Plaintiff Robinson, the only female lieutenant, was left out of all the meetings
unless it required her typing up paperwork.

       ANSWER: Defendants deny the allegations set forth in Paragraph 39.

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        40.     Additionally, the individual Defendants consistently referred to Plaintiff Robinson
as a “glorified secretary.”

       ANSWER: Defendants deny the allegations set forth in Paragraph 40.

        41.    Defendant Maddox also ordered the male sergeants (Norey & Robins) not to inform
Plaintiff Robinson of the incidents that had taken place on the campus or their shift because she
was a “glorified secretary.” Norey followed the order and informed his troops not to inform
Plaintiff Robinson of incidents. Sergeant Pamelee Robinson was the only female who followed
this order.

       ANSWER: Defendants deny the allegations set forth in Paragraph 41.

        42.    On or about April 5, 2018, Defendant Maddox had Plaintiff Robinson formally
interrogated about an incident with Sergeant Norey, where he pulled his duty weapon on Keith
Taylor (one of his subordinates) while conducting an unauthorized knife training course. Although
Plaintiff Robinson was not involved in the complaints, nor the incident, Defendant Maddox falsely
informed University Counsel that Plaintiff Robinson had police officers John Batson, Keith
Taylor, and Wendell Mack make up a story to force Sergeant Norey to retire.

       ANSWER: Defendants deny the allegations set forth in Paragraph 42.

       43.     Defendants Maddox and Steward would coerce the male officers into making false
statements about the female officers. Defendants would further promise to protect the male officers
and promote them if they lied for the Defendants. For example, Defendants Maddox and Steward
told Officer Williams to falsely report that Plaintiff Robinson was the one who caused the gender
divide within the department.

       ANSWER: Defendants deny the allegations set forth in Paragraph 43.

        44.     On or about February 16, 2018, Plaintiff Hannah was suspended for two weeks
without pay following a verbal altercation that occurred over email. In a more extreme incident,
two male officers engaged in a physical fight while armed. Defendants took no disciplinary action
against either of them.

       ANSWER: Defendants admit that Plaintiff Hannah was suspended for two weeks in

February 2018 after sending another University employee an email from her University email

account in which she threatened the employee with physical harm. Defendants deny the remaining

allegations set forth in Paragraph 44.

       45.    On or about April 2018, Plaintiff Hannah was placed under investigation and
suspended for reportedly failing to purchase a parking permit even though she had purchased the
permits and provided the paperwork to prove payment. Plaintiff Hannah was allowed to return to

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work on May 29, 2018, but as of the date of this filing is still under investigation. Around the same
time, two male officers were also accused of not purchasing parking permits. Defendants did not
reprimand or put the male officers under investigation. Instead, parking passes were simply bought
for them, and no issue was made.

       ANSWER: Defendants admit Plaintiff Hannah was suspended on or about April 2018 after

an investigation revealed she was in violation of the University’s parking policies. Defendants

deny the remaining allegations set forth in Paragraph 45.

        46.    On or about April 2018, Plaintiffs Harris and Robinson were found to have hanging
parking placards, which they paid for, instead of the standard decals that the University had
switched to in 2016. They were placed under investigation by Captain Maddox for failing to pay
for parking, even though records showed they paid. Through the course of the investigation,
Defendants accused Plaintiff Hannah of giving Harris and Robinson the placards even though she
did not have access to the phased out placards. As a result of this unfounded investigation, Hannah
was threatened with termination and forced to hire an attorney to defend her at a hearing.

       ANSWER: Defendants admit that Plaintiff Hannah and Plaintiff Robinson were

investigated on or about April 2018 for failure to purchase a one-year parking decal or sticker, as

required by the University’s parking policies. Defendants deny the remaining allegations set forth

in Paragraph 46.

        47.      In June 2014, a Sergeant’s position became available, and there were only two
candidates, Plaintiff Sawyer and Anthony Goodman. During that time, Defendants told all the male
officers that if Sawyer became Sergeant, they would have another “Sharon” (Plaintiff Robinson)
and they do not need any more females telling the male officers what to do.

       ANSWER: Defendants deny the allegations set forth in Paragraph 47.

         48.     Plaintiff Sawyer was promoted and given the title and responsibilities of Sergeant
Detective in June 2014. Defendant Maddox was upset with the promotion, and in retaliation, he
had the locksmith, Dan Chopp, change the locks on the investigator’s office and issued new keys
to all the male investigators, but not to Plaintiff Sawyer. Two of the officers were issued keys while
they were off-campus at Detective’s training and Detective Jones was told by Defendant Maddox
not to tell Plaintiff Sawyer about the lock change. Defendant Maddox never issued Plaintiff a key
or told her of the lock change even though he saw her every day.

       ANSWER: Defendants admit that Plaintiff Sawyer was promoted to Sergeant in June

2014. Defendants currently lack knowledge or information sufficient to form a belief about the



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truth of the remaining allegations in this paragraph and therefore deny the remaining allegations

set forth in Paragraph 48.

        49.    In October 2015, Defendant Maddox called Plaintiff Sawyer to his office and
falsely accused her of failing to inspect and report the damage to a vehicle. Plaintiff Sawyer
explained that she had been investigating the damage before being called to Defendant Maddox’s
office.

       ANSWER: Defendants deny the allegations set forth in Paragraph 49.

        50.    Defendant Maddox then showed Plaintiff Sawyer a stack of old investigative
reports and asked why she had not signed them. Plaintiff Sawyer explained that Defendant Steward
was supposed to sign them after Plaintiff Sawyer reviewed them. Defendant Maddox told Chief
Patricia Walsh that Plaintiff Sawyer was responsible for signing the reports and wrongfully
accused her of not doing her job.

       ANSWER: Defendants deny the allegations set forth in Paragraph 50.

        51.   As a result of the previous paragraphs, Defendant Maddox attempted to demote
Plaintiff Sawyer. On or about through October 2015, Defendant Maddox was successful in his
request and had Plaintiff Sawyer removed from the position of Sergeant Detective without
documentation and had her stipend taken away. She was promoted back to Sergeant again in
October 15, 2017.

       ANSWER: Defendants deny the allegations set forth in Paragraph 51.

         52.    On or about July 31, 2017, Plaintiff Sawyer requested a copy of a homicide case
file to prepare for court. Defendant Maddox never responded to Plaintiff’s Sawyer’s email. Seven
days later, Defendant Maddox gave an incomplete copy of the case file to Sergeant Wilbert Norey.
Plaintiff Sawyer sent a second email on August 12, 2017, to Defendant Maddox reminding him
there was a loss of life. Defendant Maddox released the complete record to Sergeant Norey on
August 14, 2017, on Plaintiff Sawyer’s day off and one day before the case went to trial. Defendant
Maddox never sent the documentation to Plaintiff Sawyer.

       ANSWER: Defendants currently lack knowledge or information sufficient to admit or

deny the allegations in Paragraph 52, and therefore deny all allegations set forth in Paragraph 52.

        53.    On or about May 21, 2013, Plaintiff Sawyer called an applicant for the investigation
unit who became very rude to her on the phone. After the call, Plaintiff Sawyer informed Chief
Ronnie Watson, Defendant Steward, and Defendant Maddox of the applicant’s attitude. Based on
this conversation, Chief Watson rescinded the applicant’s offer of employment. Following this
conversation, Defendant Maddox called a meeting with the Investigators which included Plaintiff
Sawyer, Michael Jones, Eugene Heffner & Anthony Goodman. As soon as Plaintiff Sawyer
entered the meeting, she was under verbal attack by Defendant Maddox stating that she had

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mishandled the call and alleging she “sabotaged” the interview because she was jealous of another
male officer. Defendant Maddox became so physically aggressive during the meeting that
Investigator Jones had to stand between Plaintiff Sawyer and Defendant Maddox.

       ANSWER: Defendants deny the allegations set forth in Paragraph 53.

        54.    On or about April 6, 2014, Plaintiff Sawyer passed the Sergeant’s exam. Defendant
Maddox halted her promotion by constant daily attacks, lies, and innuendos. For example, he
falsely accused Plaintiff Sawyer of intentionally throwing a case by not collecting chemical
evidence which required a HazMat team to remove. The chemical was photographed but not
transported for safety reasons. Defendant Maddox made the unfounded accusation that Plaintiff
Sawyer was related to the offender. Plaintiff Sawyer was questioned and later directed to write a
To-From document confirming that she not associated with the offender. Because of this incident,
Plaintiff Sawyer was not considered for Sergeant.

       ANSWER: Defendants deny the allegations set forth in Paragraph 54.

         55.     On or about October 2015 while removing her belongings from the Investigator’s
Office, Plaintiff Sawyer noticed a picture of herself hanging on the wall. In this picture, there are
pins stuck in Plaintiff Sawyer’s eyes. This picture remained hanging in a shared area, and every
time Defendant Maddox walked past it, he would either do nothing or laugh. As of the date of this
filing, the picture is still hanging inside the office.

       ANSWER: Defendants deny the allegations set forth in Paragraph 55.

        56.    Defendant Maddox told Chief Walsh and others that Plaintiff Sawyer sabotaged the
investigator’s office in order to remove her from that office. Various male officers said it was
because Maddox did not want the men taking orders from a woman.

       ANSWER: Defendants deny the allegations set forth in Paragraph 56.

         57.   On or about April 2014, Defendants told Officer Anthony Goodman to file an
unfounded complaint against Plaintiff Sawyer with the EEOC for age and sex discrimination, so
that it would put pressure on Chief Walsh to promote Officer Goodman and not Plaintiff Sawyer.
This incident stalled Plaintiff Sawyer’s promotion process.

       ANSWER: Defendants deny the allegations set forth in Paragraph 57.

      58.    On or about September 2017, Plaintiff Sawyer was told she needed to “dummy
down” because she was “shining too bright” and “overshadowing” the men in the department.

       ANSWER: Defendants deny the allegations set forth in Paragraph 58.

       59.   Plaintiff Kimber was written up and required to pay for using a fax machine, while
Sergeant Mack had no action taken against him for using the fax machine.



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        ANSWER: Defendants currently lack knowledge or information sufficient to admit or

deny the allegations in Paragraph 59, and therefore deny all allegations set forth in Paragraph 59.

        60.    On or about May 14, 2018, Defendant Maddox allowed a male officer to take
overtime on the third watch while simultaneously revoking the overtime previously offered to
Plaintiff Kimber. To further avoid giving Plaintiff Kimber overtime, Defendants hired an untrained
male dispatcher.

        ANSWER: Defendants deny the allegations set forth in Paragraph 60.

       61.     Beginning in 2017, Plaintiffs Kimber and Burras have not been allowed to occupy
the same space in the dispatcher’s office, even though they both require access to the computer for
performing various tasks. The male officers’ association with each other and their presence in the
dispatcher’s office has never been monitored or regulated.

        ANSWER: Defendants deny the allegations set forth in Paragraph 61.

        62.    On or about November 2016, Plaintiff Harris submitted Plaintiff Kimber’s request
for time off during the holidays. Maddox denied the time and falsely told Plaintiff Kimber that he
never received the paperwork from Plaintiff Harris.

        ANSWER: Defendants admit that, on or about December 2016, Plaintiff Harris emailed

Defendant Maddox about her requested vacation leave and Defendant Maddox responded that he

never received the request. Defendants lack knowledge or information sufficient to form a belief

as to the truth or falsity of the remaining allegations set forth in Paragraph 62, and therefore deny

them.

       63.     On or about March 2018, Plaintiff Kimber received permission to use her
emergency time to deal with a personal emergency. However, Maddox later said that she was not
allowed to use emergency time and instead put her leave down as sick time.

        ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations set forth in Paragraph 63, and therefore deny them.

        64.     On or about August 24, 2016, Defendant Maddox took Plaintiff Kimber’s and
badge during a routine audit to examine her badge further. After the audit’s conclusion, Maddox
did not return her badge for at least a year. It was not returned to her until she went to his superior,
who ordered him to do so.

        ANSWER: Defendants deny the allegations set forth in Paragraph 64.

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        65.    On or about February 2017, Defendant Maddox deliberately sent an erroneous
seniority roster to the Union (Metropolitan Alliance of Police Chapter #297) demanding the
removal of Plaintiff Robinson and Plaintiff Harris from their rightful line of seniority, which had
been acknowledged for over 14 years.

       ANSWER: Defendants deny the allegations set forth in Paragraph 65.

        66.    On or about November 2016, Plaintiff Harris submitted Plaintiff Kimber’s request
for time off during the holidays. Maddox denied the time and falsely told Plaintiff Kimber that he
never received the paperwork from Plaintiff Harris.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations set forth in Paragraph 66, and therefore deny them.

        67.     On or about March 2018, Plaintiff Harris provided written notification, rather than
a verbal notification, after a medical emergency, as was the practice at the time. She received a
verbal reprimand, which went in her file, for failing to call. However, around the same time, male
officer Sgt. Calvin Robbins committed a similar offense and did not receive a reprimand, but was
informed of the change in procedure.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations set forth in Paragraph 67, and therefore deny them.

       68.    Defendant Steward told Plaintiff Harris that Defendant Maddox did not like her
because she was not a “yes woman” and asked too many questions. Defendant Maddox was very
aggressive towards Plaintiff Harris when confronted.

       ANSWER: Defendants deny the allegations set forth in Paragraph 68.

       69.     On or about March 27, 2015, Defendant Steward told Plaintiff Harris that the
administration implemented new stricter rules that were contrary to the union contract and she was
expected to follow the new rules. None of the male officers followed these new rules and were
never disciplined.

       ANSWER: Defendants deny the allegations set forth in Paragraph 69.

       70.     Defendant Steward further filed a baseless reprimand against Plaintiff Harris for
leaving officers outside instead of bringing everyone inside for the event.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations set forth in Paragraph 70, and therefore deny them.




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        71.     On or about May 6, 2015, Plaintiff Harris was the on-duty supervisor. She took the
complaint of a woman who stated that a male officer unnecessarily ejected pepper spray into the
grill of her vehicle, forcing her to exit the car. Plaintiff Harris then turned the complaint into
Defendants Maddox and Steward. Upon receipt of the complaint, Defendant Steward did not
reprimand the male officer. Instead, he gave Plaintiff Harris a verbal reprimand, and never
disciplined the male officer.

       ANSWER: Defendants deny the allegations set forth in Paragraph 71.

        72.     On or about December 2016, Defendant Maddox changed Plaintiff Harris’s
timecard without her knowledge. When Plaintiff Harris confronted Defendant Maddox, Defendant
Maddox stated that he had every right to change the time card. Defendant Maddox falsely alleged
that Plaintiff Harris threatened him and tried to attack him during this exchange. These false
allegations resulted in plaintiff Harris receiving a 5-day suspension.

       ANSWER: Defendants admit that Plaintiff Harris and Plaintiff Robinson entered

Defendant Maddox’s office on or about December 2016 and Plaintiff Harris initiated a

confrontation with Defendant Maddox about perceived changes to her timecards. Defendants

further admit that Defendant Maddox submitted a written recommendation to the Chief of Police

that Plaintiff Harris be suspended for her insubordinate behavior. Defendants deny the remaining

allegations set forth in Paragraph 72.

       73.     On or about November 2016, Plaintiff Harris sent an email to Defendant Maddox
that Officer Michael Jones requested to go to midnights. Defendant Maddox stated he never
received said notification. Thus, Michael Jones never got reassigned. Defendant Maddox
attempted to get Jones to write a grievance about her for not being reassigned, but he refused.

       ANSWER: Defendants deny the allegations set forth in Paragraph 73.

       74.    On or about January 2017, Maddox denied Plaintiff Harris’s vacation stating that
he never received her request. Plaintiff Harris sent in her vacation request with her entire shift.
Everyone else’s vacation was approved.

       ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations set forth in Paragraph 74, and therefore deny them.

       75.    Starting in 2017, Plaintiffs Kimber and Burras have not been allowed to occupy the
same space in the dispatcher’s office, even though Burras would reasonably need to access that
room. The male officers’ association with each other and their presence in the dispatcher’s office
has never been monitored or regulated.

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       ANSWER: Defendants deny the allegations set forth in Paragraph 75.

       76.     Sergeant Wendell Mack struck a pedestrian while on patrol and no action was taken
against him. Whereas, Defendants reprimanded Plaintiff Burras after she struck a fixed object
while on patrol.

       ANSWER: Defendants admit Plaintiff Burras struck a fixed object while driving a patrol

vehicle on campus. Defendants lack knowledge or information sufficient to form a belief as to the

truth or falsity of the remaining allegations set forth in Paragraph 76, and therefore deny them.

        77.   Officer Peter Scalone destroyed at least four vehicles, but no action was taken
against him. Whereas, Plaintiff Burras was given a written reprimand after one accident.

       ANSWER: Defendants admit that Plaintiff Burras received a written reprimand after she

struck a fixed object with a patrol car. Defendants deny the remaining allegations set forth in

Paragraph 77.

         78.    Throughout 2018, there were at least four separate accidents that resulted in damage
to state property. Each one of these accidents involved male officers, and none of the officers were
reprimanded, investigated, or suffered any consequences for the accidents or damage caused.
Defendants brought on a full investigation and disciplined Plaintiff Burras when she was involved
in a similar accident.

       ANSWER: Defendants admit that Plaintiff Burras received a written reprimand after she

struck a fixed object with a patrol car. Defendants deny the remaining allegations set forth in

Paragraph 78.

        79.     Defendants have continuously monitored Plaintiff Burras regarding whom she eats
with, talks with, and when she is allowed in the station, while Defendants have never questioned
her male cohorts on the same topics.

       ANSWER: Defendants deny the allegations set forth in Paragraph 79.

        80.     In 2014, Defendants ordered Plaintiff Robinson to reprimand Plaintiff Burras,
without investigation, upon the false belief that she failed to appear in court. After Plaintiff
Robinson investigated the claim, she found that Officer David Harris was the officer who had
failed to appear in court. She told the Defendants, but Defendants ordered Plaintiff Robinson to do
nothing against the male officer. This incident resulted in a lawsuit.



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        ANSWER: Defendants deny the allegations set forth in Paragraph 80.

        81.    In 2009, Plaintiff Burras was the only female officer on her shift. She was the
arresting officer in a robbery case. Instead of rewarding her, Defendant Maddox gave
commendations to two male officers.

        ANSWER: Defendants deny the allegations set forth in Paragraph 81.

       82.    In 2016, Plaintiff Burras was sent to detective training two weeks after training had
already begun. Plaintiff Burras was denied to test and graduate while a male counterpart, Peter
Scalone, who missed the same amount of time (or more) was allowed to test and graduate the
program.

        ANSWER: Defendants admit that Plaintiff Burras was given the opportunity to attend

detective training with the Chicago Police Department in 2016, but Plaintiff Burras failed to attend

the first two weeks of the training. Defendants further admit that, under the Chicago Police

Department’s training policies, Plaintiff Burras could not receive the training certificate because

of the amount of training she missed. Defendants deny the remaining allegations set forth in

Paragraph 82.

        83.    In 2017, Plaintiff Burras completed detective training for the second time, but she
did not get the option to shadow the detectives at CSU. However, Peter Scalone, a male officer,
received the position. Mr. Scalone initially did not want to take the position because it required the
hours of 9:00am to 5:00pm. Because the Defendants did not want any females in the Detective
Division, Plaintiff Burras was never given the opportunity even after Mr. Scalone initially refused
the position. As of the date of this filing, no females are within the Detectives Division even though
85% of the campus is female.

        ANSWER: Defendants admit that Plaintiff Burras received a second opportunity to

complete detective school in 2017. Defendants lack knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations set forth in Paragraph 83, and therefore deny

them.

       84.      In 2014, Defendants ordered Plaintiff Robinson to reprimand Plaintiff Burras
without investigation upon the belief that she failed to appear in court for an automobile accident.
After Plaintiff Robinson investigated the claim, she found that Officer David Harris was the officer
who failed to appear in court. She told the Defendants, but Defendants ordered Plaintiff Robinson
to do nothing against the male officer because he had a good reason for failing to appear in court.

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This incident resulted in a lawsuit in which the University/Central Management Service settled for
$30,000.00.

       ANSWER: Defendants deny the allegations set forth in Paragraph 84.

        85.     On or about October 24, 2018, Defendant Maddox refused to allow Plaintiff Burras
the opportunity to use one of the patrol vehicles to attend her scheduled training class, knowing
that she did not have a personal car. None of the male officers were ever questioned or denied the
use of a patrol vehicle for training.

       ANSWER: Defendants deny the allegations set forth in Paragraph 85.

       86.    Plaintiffs have filed multiple grievances and spoken to the Union, EEOC, and
Human Resources on numerous occasions about the discrimination committed by and condoned
by Defendant Maddox and Defendant Steward, including but not limited to:
           a.     Plaintiff Robinson had to file a grievance against Defendant Maddox for
                  refusing to offer her overtime after providing it to the male officers in the
                  department.
           b.     Plaintiffs Harris and Robinson were forced to bring the union in to stop the
                  Defendant from moving forward on removing and altering the seniority on the
                  roster.
           c.     Also, Plaintiff Harris also met with Human Resources Director, Rene Mitchell,
                  in February 2016 to discuss the sex discrimination within the Department.
           d.     Plaintiff Harris also met with Patrick Cage, General Counsel for the University.
                  He stated that he would sit down with the Chief and work on the changes.
                  However, that meeting never took place.
           e.     On or about March 1, 2017, Defendant Maddox received a “Cease and Desist”
                  letter from plaintiffs Robinson and Harris.
           f.     On March 8, 2017, an official complaint was filed against Defendant Maddox
                  with the University EEOC Office. No action was taken.
           g.     On or about May 2017, a complaint was filed with the University’s EEOC
                  Office because Maddox had taken away Plaintiffs’ overtime. Again, no action
                  was taken.
           h.     In March 2018, Plaintiff Harris filed an additional discrimination/harassment
                  complaint with the EEOC Office against Defendant Maddox, requesting that
                  his attempts to intimidate her cease.
           i.     In May 2018, Plaintiff Hannah complained to Lindsey Hamilton, the Human
                  Resources Director, about Defendants’ harassment and attempts to terminate
                  her. Hamilton removed Defendant Maddox from overseeing and supervising
                  the Parking Department and Plaintiff Hannah.

       ANSWER: Defendants admit that Plaintiff Robinson filed a grievance against Defendant

Maddox on or about February 4, 2017, in relation to her timecard, which was denied. Defendants

further admit that Plaintiffs Robinson and Harris sent Maddox a “Cease and Desist” letter on or

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about March 1, 2017. Defendants lack knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in Paragraph 86, and therefore deny them.

        87.    Because of Defendant’s behavior, on August 22, 2018, the new Chief of Police told
Plaintiff Robinson to report directly to him rather than to Defendant Captain Maddox.

       ANSWER: Defendants are without knowledge or information sufficient to form a belief

as to truth of the allegations set forth in Paragraph 87 and therefore deny the same.

      88.    During and after the various complaints filed against him and Defendant Steward,
Defendant Maddox began taking measures designed to retaliate against Plaintiffs.
          a.     On March 8, 2017, Defendant Maddox retaliated by sending an email to the
                 entire university administrative staff with false accusations that Plaintiffs
                 Robinson and Harris harassed and created a hostile work environment.
                 Plaintiffs Robinson and Harris were called bullies, unprofessional as well as
                 inappropriate.
          b.     Also, on or about February 21, 2018, Defendant Maddox sent an email
                 containing harsh, embarrassing, belittling, intimidating, and false statements
                 directed at Plaintiff Sawyer. He copied Plaintiffs Robinson and Harris as well
                 as Defendant Steward, Sergeant Pamela Robinson, Sergeant Calvin Robins, and
                 Sergeant Wendell Mack. This email was meant to damage Plaintiff’s Sawyer
                 reputation amongst her superiors and coworkers. It was also done to prevent
                 Plaintiff Sawyer from becoming the new Union President.
          c.     Defendant further began intentionally precluding Plaintiffs from vital training
                 and meetings, including, but not limited to:
                i.       Defendant Maddox removed Plaintiff Robinson, the only female
                         lieutenant, from all department training and exercises unless it involved
                         her typing notes, including but not limited to emergency and daily
                         operations. As such, she was not informed of the daily operations of the
                         department.
               ii.       Defendant Maddox removed Plaintiff Robinson from the notification
                         list, while the new Chief was put on it within two days of his
                         employment. Because of her removal from the notification list, Plaintiff
                         Robinson was not informed of charges filed or necessary notifications
                         for administration.
              iii.       On or about May 9, 2018, Defendants Maddox and Steward went to
                         “Procedure, Justice, and Police” training, but none of the female officers
                         were not allowed to attend.
              iv.        On or about June 2018, an employee training was held on AR-15 guns.
                         No open call was presented, and only the male officers were invited to
                         the training.
               v.        Defendant Maddox removed Plaintiff Hannah, who is in charge of all
                         parking-related matters, from all parking-related meetings without
                         provocation.

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       ANSWER: Defendants admit that Defendant Maddox sent an email to Plaintiff Robinson,

Plaintiff Harris, Patricia Walsh, Robin Hawkins, Patrick Cage, Ronald Cicinelli, and Renee

Maddox on or about March 8, 2017. Defendants deny the remaining allegations set forth in

Paragraph 88, including subparagraphs (a) through (c)(v), and further deny that Defendant Maddox

engaged in any retaliation against Plaintiffs.

        89.    On or about September 10, 2018, Plaintiffs filed charges of gender discrimination
with the Equal Opportunity Employment Commission (EEOC), Charge Nos. 440-2018-05816
(Harris), 440-2018-05815 (Kimber), 440-2018-05818 (Burras), 440-2018-05819 (Sawyer), 440-
2018-05817 (Robinson) and 440-2018-08042 (Hannah). All allegations contained in these charges
are hereby incorporated in this Complaint by reference. Plaintiffs thereafter requested and received
Notice of Right to Sue by the EEOC dated October 26, 2018. This lawsuit has been commenced
within 90 days of receipt of the Notice of Right to Sue.

       ANSWER: Paragraph 89 states legal conclusions to which no response is required. To the

extent a response is deemed required, Defendants admit that Plaintiffs filed Charges of

Discrimination, EEOC Charge Nos. 440-2018-05816 (Harris), 440-2018-05815 (Kimber), 440-

2018-05818 (Burras), 440-2018-05819 (Sawyer), 440-2018-05817 (Robinson) and 440-2018-

08042 (Hannah), against Defendants with the U.S. Equal Employment Opportunity Commission

(“EEOC”), alleging gender discrimination, and filed this Complaint within 90 days of the EEOC

issuing a Notice of Right to Sue. Defendants deny all remaining allegations set forth in Paragraph

89.

                                V.      LEGAL ALLEGATIONS

        COUNT I – GENDER DISCRIMINATION IN VIOLATION OF TITLE VII
           OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. § 2000e et seq.
                            (Against the University)

       90.     Plaintiffs incorporate herein all previous paragraphs of this complaint.

       ANSWER: Defendants incorporate and adopt by reference herein all preceding paragraphs

of their Answer.

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        91.     Title VII, 42 U.S.C. §2000e-2(a) provides “It shall be an unlawful employment
practice for an employer to fail or refuse to hire or to discharge any individual, or otherwise to
discriminate against any individual with respect to his compensation, terms, conditions, or
privileges of employment, because of such individual’s race, color, religion, sex, or national origin;
or to limit, segregate, or classify his employees or applicants for employment in any way which
would deprive or tend to deprive any individual of employment opportunities or otherwise
adversely affect his status as an employee, because of such individual’s race, color, religion, sex,
or national origin.

       ANSWER: The allegations in Paragraph 91 are legal conclusions to which no response is

required. To the extent a response is deemed required, Defendants deny that they engaged in any

conduct with respect to Plaintiffs that gives rise to a cause of action under the law and deny any

remaining allegations in Paragraph 91.

      92.      Plaintiffs have been the victims of unlawful discriminatory conduct in the
workplace. Plaintiffs were unlawfully subject to disparate treatment and suffered adverse
employment actions by [D]efendants on the basis of sex. These employment violations were
unlawful in violation of Title VII, 42 U.S.C. §2000e-2(a).

       ANSWER: The allegations in Paragraph 92 are legal conclusions to which no response is

required. To the extent a response is deemed required, Defendants deny the allegations set forth

in Paragraph 92.

        93.     Specifically, all Plaintiffs, individually and as a group, have been subjected to
duties, policies, and standards that are different and more stringent than similarly situated male
officers.

       ANSWER: Defendants deny the allegations set forth in Paragraph 93.

       94.     In addition, Plaintiffs, individually and as a group, have been reprimanded for
behavior that when performed by similarly situated male employees brought on no discipline and
Defendants have given commendations to male employees for the work that Plaintiffs have done.

       ANSWER: Defendants deny the allegations set forth in Paragraph 94.

       95.    Further, Plaintiffs, individually and as a group, have had their position with the
University undermined and sabotaged by Defendants.

       ANSWER: Defendants deny the allegations set forth in Paragraph 95.




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        96.    Plaintiffs have been made to suffer mental anguish and emotional distress, loss of
employment and future employment opportunities, and loss of wages and benefits as a direct and
proximate result of respondent’s violations of their civil rights alleged herein. Plaintiffs are
reasonably certain to continue to suffer these damages in the future. Plaintiffs are entitled to the
rights and remedies at law provided by Title VII and 42 U.S.C. §1981(a), including actual
damages, compensatory damages, punitive damages, and attorneys’ fees.

       ANSWER: Defendants deny the allegations set forth in Paragraph 96 and further deny that

Plaintiffs are entitled to any relief whatsoever, whether in law or in equity.

       WHEREFORE, Plaintiffs seek compensation as laid out below.
           A.   All wages and benefits Plaintiffs would have received but for the
                discrimination, including but not limited to back pay, front pay, future
                pecuniary losses, and prejudgment interest;
           B.   Compensatory damages in an amount to be determined at trial;
           C.   A permanent injunction enjoining Defendants from engaging in the
                discriminatory practices complained of herein;
           D.   A permanent injunction requiring that the Defendants adopt employment
                practices and policies in accord and conformity with the requirements of
                Title VII, 42 U.S.C. § 2000 et seq.;
           E.   The Court retain jurisdiction of this case until such time as it is assured that
                Defendants have remedied the policies and practices complained of herein
                and are determined to be in full compliance with the law;
           F.   Punitive damages as allowed by law against Defendants;
           G.   An award of reasonable attorneys’ fees, costs, and litigation expenses; and
           H.   Such other relief as the Court may deem just or equitable.

       ANSWER: Defendants deny the allegations set forth in Plaintiffs’ WHEREFORE

paragraph, including subparagraphs (A) through (H), and further deny that Plaintiffs are entitled

to any relief whatsoever, whether in law or in equity.


       COUNT II – UNLAWFUL RETALIATION IN VIOLATION OF TITLE VII
           OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. § 2000e-3(a)
                          (Against the University)

       97.     Plaintiffs incorporate herein all previous paragraphs of this complaint.

       ANSWER: Defendants incorporate and adopt by reference herein all preceding paragraphs

of their Answer.




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        98.     42 U.S.C. 42 2000e-3(a) provides “It shall be an unlawful employment practice for
an employer to discriminate against any of his employees or applicants for employment, for an
employment agency, or joint labor-management committee controlling apprenticeship or other
training or retraining, including on the-job training programs, to discriminate against any
individual, or for a labor organization to discriminate against any member thereof or applicant for
membership, because he has opposed any practice made an unlawful employment practice by this
subchapter, or because he has made a charge, testified, assisted, or participated in any manner in
an investigation, proceeding, or hearing under this subchapter.”

       ANSWER: The allegations in Paragraph 98 are legal conclusions to which no response is

required. To the extent a response is deemed required, Defendants deny the allegations set forth

in Paragraph 98.

        99.      Defendants committed unlawful employment practices when they retaliated against
Plaintiffs for their efforts to oppose practices reasonably believed to be prohibited by Title VII, in
violation of 42 USC 2000e-3(a).

       ANSWER: Defendants deny the allegations set forth in Paragraph 99.

       100. Specifically, Plaintiffs, individually and as a group, have made complaints to
Human Resources, the Union, and EEOC about the sex discrimination they incur on a regular
basis.

       ANSWER: Defendants admit that, on or about September 10, 2018, Plaintiffs filed charges

of gender discrimination with the Equal Opportunity Employment Commission (EEOC), Charge

Nos. 440-2018-05816 (Harris), 440-2018-05815 (Kimber), 440-2018-05818 (Burras), 440-2018-

05819 (Sawyer), 440-2018-05817 (Robinson) and 440-2018-08042 (Hannah). Defendants lack

knowledge or information sufficient to form a belief as to the truth or falsity of the allegations set

forth in Paragraph 100, and therefore deny them.

       101.    In addition, Plaintiffs have sent Defendant Maddox a “cease and desist” letter.

ANSWER: Defendants admit that Plaintiffs Robinson and Harris sent Maddox a “Cease and

Desist” letter on or about March 1, 2017. Defendants deny the remaining allegations set forth in

Paragraph 101.




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        102. Shortly after these complaints, Defendant began retaliating against Plaintiffs by
precluding the female officers from necessary trainings and meetings and sending emails to the
entire university administrative staff with false accusations about Plaintiffs.

       ANSWER: Defendants deny the allegations set forth in Paragraph 102.

        103. Plaintiffs have been made to suffer mental anguish and emotional distress, loss of
employment and future employment opportunities, and loss of wages and benefits as a direct and
proximate result of respondent's violations of their civil rights alleged herein. Plaintiffs are
reasonably certain to continue to suffer these damages in the future. Plaintiffs are entitled to the
rights and remedies at law provided by Title VII and 42 U.S.C. §1981(a), including actual
damages, compensatory damages, punitive damages, and attorneys’ fees.

       ANSWER: Defendants deny the allegations set forth in Paragraph 103 and further deny

that Plaintiffs are entitled to any relief whatsoever, whether in law or in equity.

       WHEREFORE, Plaintiffs seek the following relief as to Count II of the Complaint:
           A.   All wages and benefits Plaintiffs would have received but for the
                discrimination, including but not limited to back pay, front pay, future
                pecuniary losses, and prejudgment interest;
           B.   Compensatory damages in an amount to be determined at trial;
           C.   A permanent injunction enjoining Defendants from engaging in the
                discriminatory practices complained of herein;
           D.   A permanent injunction requiring that the Defendants adopt employment
                practices and policies in accord and conformity with the requirements of
                Title VII, 42 U.S.C. § 2000 et seq.;
           E.   The Court retain jurisdiction of this case until such time as it is assured that
                Defendants have remedied the policies and practices complained of herein
                and are determined to be in full compliance with the law;
           F.   Punitive damages as allowed by law against Defendants;
           G.   An award of reasonable attorneys’ fees, costs, and litigation expenses; and
           H.   Such other relief as the Court may deem just or equitable.

       ANSWER: Defendants deny the allegations set forth in Plaintiffs’ WHEREFORE

paragraph, including subparagraphs (A) through (H), and further deny that Plaintiffs are entitled

to any relief whatsoever, whether in law or in equity.

                                  COUNT III – CONSPIRACY
                               (Against the Individual Defendants)

       104.    Plaintiff realleges each of the foregoing paragraphs as if fully set forth here.




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       ANSWER: Defendants incorporate and adopt by reference herein all preceding paragraphs

of their Answer.

       105. As described more fully above, the individual Defendants reached an agreement
amongst themselves to discriminate against Plaintiffs based upon their gender, and to thereby
deprive Plaintiffs of their Constitutional rights, all as described more fully throughout this
Complaint.

       ANSWER: Defendants deny the allegations set forth in Paragraph 105.

       106. In this manner, Defendants Maddox and Steward, acting in concert with each other,
have conspired by concerted action to accomplish an unlawful purpose by unlawful means.

       ANSWER: Defendants deny the allegations set forth in Paragraph 106.

        107. In furtherance of the conspiracy, each of the co-conspirators committed overt acts
and was an otherwise willful participant in joint activity, including but not limited to, encouraging
the male officers to refer to the female officers as “The Girls’ Club,” encouraging male officers to
ignore the authority of Plaintiff Robinson and other Plaintiffs, forcing the male officers to make
false allegations against the female officers, and allowing the male officers to commit infractions
without discipline while simultaneously reprimanding the female officers for similar behavior.

       ANSWER: Defendants deny the allegations set forth in Paragraph 107.

        108. As a direct and proximate result of the illicit prior agreement referenced above,
Plaintiffs’ rights have been violated repeatedly, and they have suffered significant damages, severe
emotional distress and anguish, as is more fully alleged above.

       ANSWER: Defendants deny the allegations set forth in Paragraph 108.

       109. The misconduct described in this Count was undertaken with malice, willfulness,
and reckless indifference to the rights of Plaintiff and others.

       ANSWER: Defendants deny the allegations set forth in Paragraph 109.

        110. As a proximate result of the above detailed actions of Defendants, Plaintiffs were
injured monetarily and emotionally, including mental suffering, anguish, humiliation, and fear.

       ANSWER: Defendants deny the allegations set forth in Paragraph 110.

        WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against the
Defendants for compensatory damages, punitive damages, the costs of this action and attorneys’
fees, and any such other and further relief as this Court deems equitable and just.




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       ANSWER: Defendants deny the allegations set forth in Plaintiffs’ WHEREFORE

paragraph and further deny that Plaintiffs are entitled to any relief whatsoever, whether in law or

in equity.

                     COUNT IV – EQUAL PROTECTION DEPRIVATION
                   BASED ON GENDER IN VIOLATION OF 42 U.S.C. § 1983
                            (Against the Individual Defendants)

       111.    Plaintiffs reallege and incorporates by reference all previous paragraphs.

       ANSWER: Defendants incorporate and adopt by reference herein all preceding paragraphs

of their Answer.

        112. Defendants subjected all Plaintiffs to harassment and discrimination in the terms
and conditions of their employment based on their gender by including but not limited to the
following: demoting and/or failing to promote Plaintiffs; commending male officers over
Plaintiffs; [d]isciplining female officers over of male officers; changing Plaintiffs’ schedules
without notice; demanding male officers to proffer false statements against Plaintiffs; and
humiliating Plaintiffs through defacing pictures of Plaintiffs and sending damages emails to
Plaintiffs’ superiors.

       ANSWER: Defendants deny the allegations set forth in Paragraph 112.

        113. Defendants’ conduct against Plaintiffs constitutes unlawful discrimination and
harassment based on gender and is part of a continuing pattern and practice of discrimination
against females based on their gender.

       ANSWER: Defendants deny the allegations set forth in Paragraph 113.

       114. The conduct alleged herein constitutes a pattern, custom, and practice of
discrimination against women based on their gender.

       ANSWER: Defendants deny the allegations set forth in Paragraph 114.

       115. All of Defendants’ employment practices as alleged herein are undertaken with
discriminatory intent.

       ANSWER: Defendants deny the allegations set forth in Paragraph 115.

       116. This conduct as alleged herein constitutes official policies or customs of the
Chicago State University Security Department, which violate the Fourteenth Amendment of the
United States Constitution as secured by 42 U.S.C. § 1983.



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       ANSWER: Defendants deny the allegations set forth in Paragraph 116.

        117. Defendants Maddox and Steward, along with Chicago State University, are
responsible for the acts of Security Department supervisors and command staff, who were acting
within the scope of their employment and pursuant to a policy, custom, and/or pattern of gender
discrimination and in violation of individual rights of equal protection under the Fourteenth
Amendment to the Constitution of the United States.

       ANSWER: Defendants deny the allegations set forth in Paragraph 117.

        118. Defendants Maddox and Steward either participated in the discriminatory
treatment, knew or should have known of the discriminatory conduct, failed to take any effective
remedial action to remedy and/or prevent the discriminatory treatment, and turned a blind eye to
the discriminatory treatment and harassment against Plaintiffs and other women.

       ANSWER: Defendants deny the allegations set forth in Paragraph 118.

       119.    Defendant have acted under color of state law at all material times hereto.

       ANSWER: Defendants deny the allegations set forth in Paragraph 119.

       120.    Defendants engaged in a continuing violation under 42 U.S.C. § 1983.

       ANSWER: Defendants deny the allegations set forth in Paragraph 120.

        121. The actions of Defendants have caused Plaintiffs great mental anguish, humiliation,
degradation, physical and emotional pain and suffering, inconvenience, lost wages and benefits,
future pecuniary losses, and other consequential damages.

       ANSWER: Defendants deny the allegations set forth in Paragraph 121.

        122. Defendants intentionally discriminated against Plaintiffs with malice or reckless
indifference to Plaintiffs’ civil rights, thereby entitling Plaintiffs to punitive damages against the
individual Defendants.

       ANSWER: Defendants deny the allegations set forth in Paragraph 122.

      123. Plaintiff requests that the Court order systemic injunctive relief to address the
unlawful conduct complained of herein.

       ANSWER: Defendants deny the allegations set forth in Paragraph 123, including

Plaintiffs’ allegation of unlawful conduct and request for systemic injunctive relief, and further

deny that Plaintiffs are entitled to any relief whatsoever, whether in law or in equity.



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       WHEREFORE, Plaintiffs seek the following relief as to Count IV of the Complaint:
           A.   All wages and benefits Plaintiffs would have received but for the
                discrimination, including but not limited to back pay, front pay,
                prejudgment interest, and restoration of job assignments;
           B.   Compensatory damages in an amount to be determined at trial to
                compensate Plaintiff for the humiliation, anguish, and emotional distress
                caused by Defendants’ conduct;
           C.   A permanent injunction enjoining Defendants from engaging in the
                discriminatory practices complained of herein;
           D.   A permanent injunction requiring that Defendants adopt employment
                practices and policies in accord and conformity with the requirements of 42
                U.S.C. § 1983, and further requiring that Defendants adopt and initiate
                effective remedial actions to ensure equal treatment based on gender;
           E.   A declaratory judgment that Defendants’ actions violate 42 U.S.C. § 1983;
           F.   The Court retain jurisdiction of this case until such time as it is assured that
                Defendants have remedied the policies and practices complained of herein
                and are determined to be in full compliance with the law;
           G.   Punitive damages as allowed by law as against all individual Defendants;
           H.   An award of reasonable attorneys’ fees, costs, and litigation expenses; and
           I.   Such other relief as the Court may deem just or equitable.

       ANSWER: Defendants deny the allegations set forth in Plaintiffs’ WHEREFORE

paragraph, including subparagraphs (A) through (I), and further deny that Plaintiffs are entitled to

any relief whatsoever, whether in law or in equity.

                                         CONCLUSION

        WHEREFORE, as a result of Defendants intentionally discriminated against Plaintiffs with
malice or reckless indifference to Plaintiffs’ civil rights, Plaintiffs Sharon Robinson, Director
Winona Hannah, Sergeant Marcella Sawyer, Telecommunications Carla Kimber, Sergeant
Veronica Harris, and Officer Lawanda Burras suffered great mental anguish, humiliation,
degradation, physical and emotional pain and suffering, inconvenience, lost wages and benefits,
future pecuniary losses, and other consequential damages. Therefore, Plaintiffs request punitive
and compensatory damages in an amount deemed at trial to be just, fair, and appropriate.

       ANSWER: Defendants deny the allegations set forth in Plaintiffs’ WHEREFORE

paragraph, including Plaintiffs’ allegations of intentional discrimination and requests for relief,

and further deny that Plaintiffs are entitled to any relief whatsoever, whether in law or in equity.

                                      GENERAL DENIAL

       Defendants deny each and every allegation in Plaintiffs’ Amended Complaint that is not

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specifically admitted in this Answer.

                          AFFIRMATIVE AND OTHER DEFENSES

        Further answering, and in defense of Plaintiffs’ Amended Complaint, Defendants state as

follows:

        1.      Plaintiffs’ Amended Complaint, and each purported claim therein, fails to state a

claim upon which relief can be granted.

        2.      Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

limitation or other periods of limitation.

        3.      Plaintiffs’ claims are barred, in whole or in part, to the extent they failed to exhaust

internal, contractual, and/or administrative remedies prior to filing their Amended Complaint.

        4.      Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches, waiver,

estoppel, and/or unclean hands.

        5.      Plaintiffs’ claims are barred, in whole or in part, by the doctrine of accord and

satisfaction.

        6.      Plaintiffs’ claims are barred, in whole or in part, because Defendants did not cause

or contribute to any damages, loss, or injury allegedly sustained by Plaintiffs.

        7.      All of the decisions made or actions taken by Defendants with respect to Plaintiffs

were justified by legitimate, non-discriminatory, non-retaliatory, business reasons.

        8.      Pleading in the alternative, any of the decisions made or actions taken by

Defendants with respect to Plaintiffs were made/taken with the good-faith belief that such

decisions and actions complied with all applicable laws.

        9.      Pleading in the alternative, Plaintiffs’ claims are barred because, even if an

impermissible motivating factor had been a determining factor in any decision made or action



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taken by Defendants, which Defendants specifically deny, Defendants would have made the same

decision and/or taken the same action in the absence of any impermissible motivating factor.

       10.     Pleading hypothetically and in the alternative, even if Plaintiffs were subjected to

unwelcome conduct or harassment, which Defendants specifically deny, Defendants did not know

and should not have known about the conduct.

       11.     Pleading hypothetically and in the alternative, even if Plaintiffs were subjected to

unwelcome conduct or harassment, which Defendants specifically deny, Defendants took

reasonable steps to correct the situation and/or prevent the conduct from recurring.

       12.     Pleading hypothetically and in the alternative, even if Plaintiffs were subjected to

unwelcome conduct or harassment, which Defendants specifically deny, Plaintiffs unreasonably

failed to properly take advantage of any preventive or corrective opportunities provided by

Defendants or to avoid harm otherwise.

       13.     Any injury to Plaintiffs, the existence of which Defendants specifically deny, was

caused by Plaintiffs and/or by third parties over whom Defendants had no control.

       14.     Any injury to Plaintiffs, the existence of which Defendants specifically deny, was

not caused by an employee or agent of Defendants while acting in the course and scope of their

employment with Defendants.

       15.     Plaintiffs’ claims fail because, at all times, Defendants acted in compliance with

applicable policies and procedures. Defendants are not subject to liability because they have—and

followed, with respect to Plaintiffs—effective policies in support of its non-discrimination and

non-retaliation commitments and procedures for reporting and redressing any purported instances

of discrimination on the basis of sex or gender.




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       16.     Pleading in the alternative, Plaintiffs’ claims are barred, in whole or in part, by the

doctrine of after-acquired evidence. To the extent after-acquired evidence is discovered, Plaintiffs’

damages are cut off as of the time such after-acquired evidence is discovered.

       17.     Plaintiffs seek remedies not applicable to their claims or outside of the remedies for

which they would be eligible if they proved their claims.

       18.     Any damage or harm suffered by Plaintiffs, which damage or harm Defendants

expressly deny, was contributed to, caused by, or resulted from Plaintiffs’ own actions and

inactions.

       19.     Plaintiffs’ Amended Complaint is barred, in whole or in part, because any

obligation by Defendants to pay compensation, whether contractual or otherwise, which Plaintiffs

claim is owed, has been fully performed, satisfied, or discharged.

       20.     Plaintiffs are not entitled to injunctive relief because they will not suffer irreparable

harm in the absence of an injunction.

       21.     No actions taken by Defendants were willful or wanton or made with evil motive

or reckless indifference to the rights of others.

       22.     Punitive damages are not recoverable in this action and Plaintiffs fail to state a

claim upon which punitive damages may be granted.

       23.     Plaintiffs are not entitled to any recovery of punitive damages against Defendants

because an award of punitive damages would be an unconstitutional denial of Defendants’ right to

due process and/or equal protection under the Fifth and Fourteenth Amendments to the United

States Constitution and under the Constitution of the State of Illinois.

       24.     Defendants expressly deny each and every allegation in Plaintiffs’ Amended

Complaint not specifically admitted in this Answer.



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       25.     Because Defendants have yet to avail themselves of the right to discovery, and do

not fully know the circumstances of the alleged incidents described in Plaintiffs’ Amended

Complaint, Defendants hereby notify Plaintiffs that, until they can avail themselves of discovery,

it cannot be determined whether Defendants will assert the above-stated defenses at trial or whether

those will be the only such defenses asserted. Such defenses are, however, asserted herein to

preserve Defendants’ right to assert such defenses and to avoid waiver of any such defenses.

Defendants expressly reserve the right to plead any additional affirmative defenses as may become

appropriate and/or necessary and thus reserve the right to amend their Answer and Affirmative

Defenses to assert such defenses.

       WHEREFORE, having fully answered Plaintiffs’ Amended Complaint, Defendants

Chicago State University, Captain James Maddox, and Lieutenant Charles Steward request that

Plaintiffs’ Amended Complaint be dismissed in its entirety, with prejudice, and for such other

relief as this Court deems just and proper.

                                                     Respectfully submitted,

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                                                     Counsel for Defendants

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                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on the 8th day of April 2022, a copy of the above and
foregoing document was filed with the Clerk of Court using the CM/ECF system which sent
electronic notification of such filing to all those individuals currently electronically registered
with the Court.
                                                        /s/ Lisa Parker              -
                                                        Lisa J. Parker




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